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                            UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

 BOBBY NEAL STOKEY,                             §
     Plaintiff,                                 §
                                                §
 v.                                             §           CASE NO. 4:23-CV-01101
                                                §
 PHH MORTGAGE CORPORATION,                      §
 NEWREZ, LLC, WELLS FARGO                       §
 BANK, N.A., OCWEN LOAN                         §
 SERVICING, LLC,                                §
     Defendants.                                §

                                    SUGGESTION OF DEATH

 TO THE HONORABLE UNITED STATES DISTRICT COURT:

         COMES NOW Joyce Lindauer, counsel for Bobby Neal Stokey, (“Plaintiff” or “Stokey”),

 and files this Suggestion of Death to advise the Court that Plaintiff has died. Plaintiff died on

 November 11, 2024, at the age of 79 years. A true and correct copy of his death certificate is

 attached hereto as Exhibit “A.” Plaintiff was buried on or about December 11, 2024.

         Dated: March 13, 2025.
                                                 Respectfully submitted,

                                                   /s/ Joyce W. Lindauer
                                                 Joyce W. Lindauer
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                                CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on March 13, 2025, a true and correct copy of the
 foregoing document was served via email pursuant to the Court’s ECF system upon all counsel of
 record.

                                                  /s/ Joyce W. Lindauer
                                                Joyce W. LindaueR




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